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UNITED STATES I)IS'I`RICT COURT
DISTRICT OF MASSACHUSETTS

 

MARTHA JARAM]LLO,

Plaintil` f
V.

ZWICKER & ASSOCIATES, P.C.;

JOHN DOES and JANE DOES,
Defendants

Case No.: 1:13-cv-10029~WGY

 

Pursuant to Federal Rule of Civi] Procedure 41(a)(l)(A)(ii) and 41(c), the parties
hereby stipulate that all of Piaintiff’s claims be dismissed with prejudice, each party to bear
its own attorney’s fees and costs. It is further stipulated that no mon -ary consideration has

been paid in connection With this dismissal

 

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